            Case 23-20084-rlj7            Doc 91-2 Filed 08/04/23 Entered 08/04/23 15:21:05                     Desc
                                                  Exhibit B Page 1 of 8

Hudson Jobe

From:                                   Hudson Jobe
Sent:                                   Friday, July 28, 2023 4:50 PM
To:                                     bfranklin@bdflawfirm.com
Cc:                                     Kent Ries; Orion Hutchin; Chandler Patterson; Charity S. Bird; Michael Johnson; Nita
                                        Chancellor
Subject:                                RE: [EXTERNAL] - FW: McClain Venue motion
Attachments:                            Trustee's RFP to Goad and Kinsey - 7.28.23.pdf; Ex A - Dkt 17 - Ex Parte Mtn for 2004
                                        Exam of Various Third Parties - 05.09.23.pdf


Mr. Franklin –

I am outside counsel for the Trustee. A ached please ﬁnd the Trustee’s request for produc on rela ve to the venue
mo on.

I am assis ng the Trustee in the venue hearing and deposi on, and not available August 7-17 due to family travel. Due
to my schedule and the needed discovery, the Trustee will be reques ng this to be moved to September. The Court
typically moves to the standing Amarillo docket on Sept 7. Please advise if your client is agreeable to this con nuance.

With respect to discovery, we will need to coordinate another depo date and an expedited produc on date depending
on the ul mate date for the hearing. Let me know the posi on on the con nuance and we can discuss deposi on
scheduling depending on the intended hearing date.

Thanks,

Hudson Jobe
Board Certified Business Bankruptcy Attorney
Texas Board of Legal Specialization
Quilling, Selander, Lownds, Winslett & Moser, P.C.
2001 Bryan Street, Suite 1800, Dallas TX 75201
Direct: (214) 880-1858 | Fax: (214) 871-2111
Email: hjobe@qslwm.com



From: William Franklin <bfranklin@bdflawfirm.com>
Sent: Thursday, July 27, 2023 3:25 PM
To: Kent Ries <kent@kentries.com>; Orion Hutchin <OHutchin@bdflawfirm.com>; Chandler Patterson
<cpatterson@bdflawfirm.com>; Charity S. Bird <cbird@kaplanjohnsonlaw.com>
Cc: Hudson Jobe <hjobe@qslwm.com>; Michael Johnson <MJohnson@rqn.com>
Subject: RE: McClain Venue motion

Mr. Ries:

My clients are available for zoom depositions on August 10th. Please let me know if that works
for you. Charity Bird will be handling the depositions on our side, as such I have copied her
with this email. With regard to your request to move the hearing date, we do not see the need to
move it at this time.

                                                                  1
                                                                          B
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Please let me know if you have any questions.

Thanks,

Bill
William A. (Bill) Franklin
BOERNER, DENNIS & FRANKLIN, PLLC
P.O. Box 1738 • Lubbock, Texas 79408
920 Ave. Q • Lubbock, Texas 79401
Telephone: 806.763.0044
Facsimile: 806.763.2084
E-mail: bfranklin@bdflawfirm.com
Website: www.bdflawfirm.com




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expressly indicated, any federal tax advice contained in this message or any attachments is not intended or written to be
used, and cannot be used, for the purpose of (i) avoiding tax-related penalties under the Internal Revenue Code or applicable
state or local tax law provisions or (ii) promoting, marketing or recommending to another party any tax-related matters
addressed herein.

From: Kent Ries <kent@kentries.com>
Sent: Tuesday, July 25, 2023 1:44 PM
To: Orion Hutchin <OHutchin@bdflawfirm.com>; William Franklin <bfranklin@bdflawfirm.com>; Chandler Patterson
<cpatterson@bdflawfirm.com>
Cc: Hudson Jobe <hjobe@qslwm.com>; Michael Johnson <MJohnson@rqn.com>
Subject: RE: McClain Venue motion

???????

Kent Ries
PO Box 3100
Amarillo, TX 79116
806-242-7437

From: Kent Ries
Sent: Wednesday, July 19, 2023 3:39 PM
To: Orion Hutchin <OHutchin@bdflawfirm.com>; William Franklin <bfranklin@bdflawfirm.com>; Chandler Patterson
<cpatterson@bdflawfirm.com>
                                                             2
          Case 23-20084-rlj7       Doc 91-2 Filed 08/04/23 Entered 08/04/23 15:21:05                  Desc
                                           Exhibit B Page 3 of 8
Cc: Hudson Jobe <hjobe@qslwm.com>; Michael Johnson <MJohnson@rqn.com>
Subject: McClain Venue motion

Please give me some dates when your client can be available for a deposi on in this contested ma er. I am not
available the week of 7/31/23.

Also, we may well be sending some wri en discovery in this ma er as well. In any event, a hearing per your no ce does
not provide the me needed to prepare. Are you agreeable to a con nuance to the Court’s September Amarillo docket?

Thanks.

Kent Ries
PO Box 3100
Amarillo, TX 79116
806-242-7437




                                                          3
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Hudson M. Jobe, Esq.
QUILLING, SELANDER, LOWNDS,
WINSLETT & MOSER, P.C.
2001 Bryan Street, Suite 1800
Dallas, Texas 75201
(214) 871-2100 – Telephone
(214) 871-2111 – Facsimile

SPECIAL COUNSEL FOR KENT RIES, TRUSTEE


                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                    AMARILLO DIVISION

IN RE:                                                §
                                                      §
MCCLAIN FEED YARD, INC., et al.,1                     §     CASE NO. 23-20084-RLJ-7
                                                      §
         Debtors.                                     §     (Jointly Administered)

               TRUSTEE’S REQUEST FOR PRODUCTION OF DOCUMENTS

TO:      Meagan B. Goad and Kinsey Moreland, by and through their attorneys of record, William
         A. Franklin, Chandler Patterson, and Orion Hutchin, Boerner, Dennis & Franklin, PLLC,
         Attorneys at Law, 920 Avenue Q, P.O. Box 1738, Lubbock, Texas 79408.

         Kent Ries, Chapter 7 Trustee (the “Trustee”), pursuant to Federal Rule of Bankruptcy

Procedure 7034 and Federal Rule of Civil Procedure 34, as made applicable to this contested

matter by Fed. R. Bank. P. 9014, requests that Meagan B. Goad and Kinsey Moreland (the

“Interested Parties”), produce for inspection and copying, the papers, documents and tangible

things within their possession, custody and control, designated below, on or before August 28,

2023, at 5:00 p.m. Documents and other information should be provided in electronic form

where possible to the undersigned counsel. Documents or other items only available in physical

form should be made available for inspection and copying at the office of Boerner, Dennis &

Franklin, PLLC, Attorneys at Law, 920 Avenue Q, P.O. Box 1738, Lubbock, Texas 79408.

Physical computers or similar items should be made available at the office of Boerner, Dennis



1
 The Debtors in these chapter 7 cases are: McClain Feed Yard, Inc. (Case No. 23-20084-RLJ), McClain Farms, Inc.
(Case No. 23-20085-RLJ), and 7M Cattle Feeders, Inc. (Case No. 23-20086-RLJ).
                                                       1
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& Franklin, PLLC, Attorneys at Law, 920 Avenue Q, P.O. Box 1738, Lubbock, Texas 79408 for

turnover to a third-party forensic firm.

       Pursuant to Fed. R. Bank. P. 9014 and 7034, Fed. R. Civ. P. 34(b)(2), the Interested

Parties are also required to serve a written response to this request within 30 days from the date

of service hereof, stating, with respect to each item or category, that the inspection and related

activities will be permitted as requested, unless the request is objected to, in which event the

reasons for the objection shall be stated.

                                             DEFINITIONS

        1.      The term “Interested Parties” means Meagan B. Goad and Kinsey Moreland,
creditors in the above-captioned chapter 7 jointly administered bankruptcy cases and includes
any professional retained by the Interested Parties or other person authorized or directed to act on
behalf of the Interested Parties.

        2.      The term “document” means the original or a copy of any tangible thing from or
on which information can be stored, recorded, processed, transmitted, inscribed, or memorialized
in any way by any means, regardless of technology or form and including, but not limited to:
accounting books or records; accounts; affidavits; agendas; agreements; analyses; applications;
appointment books; audio tapes; balance sheets; books; books or records of account; brochures;
cables; calendars; catalogues; CD-ROMs; certificates; charts; circulars; compact discs; computer
printouts; contracts; correspondence; data processing input and output; deeds; deposition
transcripts; desk calendars; diaries; digital images; drafts; DVDs; DVD-ROMs; electrical
recordings; e-mail communications; evaluations; experiments; faxes; facsimiles; films; financial
statements; flash memory; floppy disks; guides; guidelines; hard copies of electronic, electrical,
magnetic or any other communications not made on paper; hard disk drives; hearing transcripts;
income statements; instant messages; interoffice communications; journals; ledgers; letters; lists;
logs; magazines; magazine articles; magnetic recordings; magnetic tapes; manuals; memoranda;
microfilms; minutes; newspapers; newspaper articles; notations; notebooks; notes; objects;
opinions; papers; photographs; policies; procedures; profit and loss statements; prospectuses;
receipts; recordings; releases; reports; schedules; sound recordings; statements; statements of
cash flow; statistical records; stock certificates; summaries of accounts; summaries; tables;
tabulations; tangible things; telecommunications; telegrams; telefaxes; telex messages; tests; text
messages; titles; transcripts; videos; videotapes; websites; work papers; and any other writings,
be they typewritten, handwritten, printed, stored in or on any form of electronic or magnetic
media, or otherwise, and other records, recordings or pictures of any kind or description. Each
copy of a document that contains any separate notations or writings thereon shall be deemed to
be a separate document for purposes of these Document Requests. Any document identified or
described in a Document Request, or which contains information or is otherwise related to the
substance of a Document Request, will include any document, in draft or final form, either sent
or received by You. This term also includes any documents now or ever in Your possession,

                                                  2
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custody or control, or available to You, Your attorneys, accountants, agents, representatives,
employees, or associates (including documents kept by individuals in their desks, at home, or
elsewhere).

        3.      The term “information” shall be expansively construed and shall include, but not
be limited to facts, data, opinions, images, impressions, concepts and formulae.

        4.     The term “Motion to Transfer” means the Motion of Meagan B. Goad and Kinsey
Moreland, as Interested Parties, to transfer venue of the jointly administered cases to the Western
District of Kentucky [ECF No. 82].

       5.      The term “person” means any natural person, firm, partnership, joint venture,
corporation, or group of natural Persons or such entities.

       6.       The term “relating to” means, directly or indirectly, refer to, mention, describe,
pertain to, arise out of or in connection with or in any way legally, logically, or factually
connected with the matter discussed.

        7.       The term “You,” or “Your,” means Meagan B. Goad and Kinsey Moreland, the
Interested Parties, and includes any employees, agents, associates, predecessors, successors,
assigns, affiliates, subsidiaries or entities acting on behalf or under control of You.

        8.      The term “Debtors” means McClain Feed Yard, Inc. (Case No. 23-20084-RLJ), McClain
Farms, Inc. (Case No. 23-20085-RLJ), and 7M Cattle Feeders, Inc. (Case No. 23-20086-RLJ).




                                       INSTRUCTIONS

       1.      In responding to this Document Request, furnish all information which is
available to You, including information in the possession of Your agents, representatives,
employees, investigators, attorneys, or anyone acting on their behalf or on Your behalf, and not
merely such information known of Your own knowledge. If You are unable to locate any
requested document after exercising due diligence to secure the requested document, so state,
and answer to the extent to which You are able.

        2.      This Document Request is continuing so as to require supplementary documents
if additional information or documents hereafter are obtained or discovered which may augment
or otherwise modify the information that You provide and documents that You produce.
supplementary documents are to be served within seven days after receipt or discovery of such
information or documents.

        3.     If any document is not produced under a claim of privilege, for each such
document identify the nature of the privilege (including work product) that is being claimed,
indicate the Document Request to which the document is responsive, and provide the following
information, unless divulgence of such information would cause disclosure of the allegedly
privileged information: (1) the type of document; (2) the general subject matter of the document;

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(3) the date of the document; and (4) such other information as is sufficient to identify the
document for a subpoena duces tecum, including, where appropriate, the author of the document,
the addressee of the document, and, where not apparent, the relationship of the author and the
addressee to each other.

       4.      In the event that any document called for has been destroyed, discarded, or
otherwise disposed of, identify the document by stating its: (a) author or preparer; (b)
addressee(s); (c) indicated or blind copies; (d) date; (e) subject matter; (f) number of pages; (g)
attachments or appendices; (h) all Persons to whom distributed or shown; (i) date of destruction
or other disposition; (j) manner of destruction or other disposition; (k) reason for destruction or
other disposition; (l) Person destroying or disposing of the document; and (m) the Document
Request to which the document is responsive.

        5.      Pursuant to Rule 7034, which incorporates Rule 34(b) of the Federal Rules of
Civil Procedure, all documents are to be produced as they are kept in the usual course of business
with any identifying labels, file markings or similar identifying features or shall be organized and
labeled to correspond to the appropriate request herein.

       6.      The connectives “and” and “or” are to be construed either disjunctively or
conjunctively as necessary to bring within the scope of these Document Requests all responses
that might otherwise be construed to be outside of their scope.

        7.      The words “any,” “all” and “each” are to be construed as necessary to bring
within the scope of these Document Requests all responses that might otherwise be construed to
be outside of their scope.

       8.      The use of the singular form of any word includes the plural and vice versa.

        9.     The use of the masculine form of any word includes the feminine form and the
neuter form, and vice versa.

       10.     The terms “including” and “includes” are not limiting.




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                                   DOCUMENT REQUESTS

       1.      All documents or other items in the possession, custody, or control of the

Interested Parties that are responsive to the EX PARTE MOTION FOR RULE 2004 ORDER

AUTHORIZING THE ISSUANCE OF DOCUMENT SUBPOENAS TO VARIOUS THIRD

PARTIES filed by Rabo AgriFinance LLC attached as Exhibit A hereto.

       2.      All bank statements from January 1, 2005 to the present in the possession,

custody, or control of the Interested Parties for any bank account that contain any deposits of

funds from any of the Debtors from January 1, 2005 to the present.

       3.      All documents concerning any of the Debtors from January 1, 2023 to the present.

       4.      All computers, hard drives, USB drives, cell phones, laptops, tablets and other

media storage devices that contain any records or other information concerning the Debtors.

       5.      All documents on which You relied for factual support of the allegations set forth

in the Motion to Transfer.



       Dated this 28th day of July 2023.            Respectfully submitted,

                                                    QUILLING, SELANDER, LOWNDS,
                                                      WINSLETT & MOSER, P.C.
                                                    2001 Bryan Street, Suite 1800
                                                    Dallas, Texas 75201
                                                    (214) 871-2100 (Telephone)
                                                    (214) 871-2111 (Facsimile)

                                                    By: /s/ Hudson M. Jobe
                                                       Hudson M. Jobe
                                                       State Bar No. 24041189

                                                    SPECIAL COUNSEL FOR KENT RIES,
                                                    TRUSTEE




                                                5
